       Case 1:19-md-02915-AJT-JFA  Document
                     Case MDL No. 2915      2128219
                                       Document   Filed 11/15/21
                                                      Filed 11/15/21Page 1 of
                                                                      Page    2 PageID#
                                                                           1 of 2       47549




                                                                        UNITED STATES JUDICIAL PANEL
                                                                                     on
                                                                          mULTIDISTRICT LITIGATION



                 IN RE; CAPITAL ONE CONSUMER DATA
                 SECURITY BREACH LITIGATION
                                                                                                                 MDL No. 2915



                                                                          (SEE ATTACHED SCHEDULE)


                                                                     CONDITIONAL TRANSFER ORDER(CTO -4)


                2"                      5'             7 f.'y'l action(s) to the United States Distriet Court for the Eastern
                IDA J c                         or consolidated pretrial proceedings pursuant to 28 U.S.C. $ 1407 See
                F^cf    n^V ofAr
                Eastcin District                                         3<ltlitional
                                 Virginia. With the consent of that court,            action(s)
                                                                               all such  actionshave
                                                                                                 havebeen
                                                                                                       beentransferred
                                                                                                             assigned to the
                Honorable Anthony J. Trenga.
                It appears that the action(s) on this conditional transfer order involve questions offact that are common to the
                actions previously transfen-ed to the Eastern District of Virginia and assigned to Judge Trenga.
                Pursuant to Rule 7A ofthc Rpl'^s of Procedure ofthe Unilcd Statc.s Tndirial Panel on Mnltidi.strict T.itipntinn
                the action(s) on the attached schedule are transferred under 28 U.S.C. {j 1407 to the Eastern District of
                Virginia for the reasons stated in the order of October 2, 2019, and, with the consent of that court, assigned to
                the Honorable Anthony J. Trenga.
                This order does not become effective until it is filed in the Office ofthc Clerk ofthe United Stales District
                Court tor the Eastern District of Virginia. The transmittal of this order to said Clerk shall be stayed 7 days
                from the entry thereof. If ariy paity files a notice of opposition with the Clerk of the Panel within this 7-day
                period, the stay will be continued until further order of the Panel.



                                                                                          FOR THE PANEL;
                                  1 lasmiicJi as no   oojeclicm is
                                  p ending at    this time, the
                                  s ay   is lifted.


                                    Nov 15, 2021
                                                                                              /       C
                                  ^ CLERK S OFFICE                                        John W. Nichols
                                            osn UL S"AteS

           L        E        "V                   PATJCt
                                     MULTiOlSTniCrr UT1G.VTI0N                            Clerk of the Panel


   Mnv 1 5 m
                             i/
CLERK, U.S. DISTRICT COURT
  ALEXANDRIA. VIRRIM/U


    CLERK, U.S. DISTRICT COURT

    BY.
                   DEPUTY CLERK
Case 1:19-md-02915-AJT-JFA Document 2128 Filed 11/15/21 Page 2 of 2 PageID# 47550
               Case MDL No. 2915 Document 219 Filed 11/15/21 Page 2 of 2



      IN RE: CAPITAL ONE CONSUMER DATA
      SECURITY BREACH LITIGATION                                                       MDL No. 2915

                           SCHEDULE CTO-4- TAG-ALONG ACTIONS


        IHSl      DIY.      C.A.NO.      CASE captiox

      CALIFORNIA NORTHERN

                   ^       21-08580     Miranda el al V. Capital One Financial Corporation et al
